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                 EXHIBIT A
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                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

In re CASSAVA SCIENCES, INC.             §
SECURITIES LITIGATION                    § Master File No. 1:21-cv-00751-DAE
                                         §
                                         § CLASS ACTION
This Document Relates To:                §
                                         §
         ALL ACTIONS                     §
                                         §
                                         §


       [PROPOSED] SUPPLEMENT TO THE CONSOLIDATED COMPLAINT FOR
               VIOLATIONS OF THE FEDERAL SECURITIES LAWS




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         Lead Plaintiff Mohammad Bozorgi and additional plaintiffs Ken Calderone and Manohar K.

Rao hereby supplement the Consolidated Complaint for Violations of the Federal Securities Laws

(ECF 68) (the “Complaint”).

         Through this supplement, the following paragraphs supplement the Complaint following

Complaint ¶506:

                 Supp. ¶1.     On October 12, 2023, minutes before the market closed, the
         journal Science published an article publicly revealing for the first time that CUNY
         investigators had found scientific misconduct involving 20 research papers about
         simufilam, according to a “Final” 50-page report obtained by the journal. Among
         other things, the CUNY investigators “found numerous signs that images were
         improperly manipulated, for example in a 2012 paper in The Journal of
         Neuroscience that suggested simufilam can blunt the pathological effects of beta
         amyloid, a protein widely thought to drive Alzheimer’s disease.” Notably, the
         investigators “concluded that Lindsay Burns, Cassava’s senior vice president for
         neuroscience and a co-author on several of the papers, bears primary or partial
         responsibility for some of the possible misconduct or scientific errors.”

                 Supp. ¶2.       The Science article also quoted the CUNY report as saying
         that Wang did “did not produce the original raw data” and “failed to turn over to the
         panel ‘even a single datum or notebook in response to any allegation,’” revealing that
         neither Wang nor Burns could have provided original data to the scientific journals
         investigating the alleged data manipulation in Cassava’s pre-clinical and clinical
         research. The CUNY report, which had previously been sent by CUNY to ORI,
         stated that the committee “found evidence highly suggestive of deliberate scientific
         misconduct by Dr. Wang for 14 of the 31 allegations.”1

                  Supp. ¶3.       In response to questions from Science, a senior adviser to City
         College of New York president Vincent Boudreau said the president could not
         comment, but “action on the report is imminent.” CUNY biochemist Kevin Gardner,
         who helped prepare a preliminary assessment of Wang’s work but was not involved
         in the final review, called what the committee found “embarrassing beyond words”
         and described Wang’s record of research as “abhorrent.” That this work supported
         clinical trials, Gardner added, “makes it doubly sickening.”

                Supp. ¶4.       Barbier, in an October 13, 2023 press release issued in
         response to the Science article, stated that Cassava “remain[ed] confident in the
         underlying science for simufilam” and CUNY had “no legitimate basis on which to


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       Because no primary data was provided, the CUNY investigators did not exonerate Wang or
Cassava for the remaining 17 allegations. Rather, according to CUNY investigators, the integrity of
the work remains “highly questionable.”

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         make accusations against the Company or its employees” even calling into question
         the authenticity of the CUNY Report.

                 Supp. ¶5.      Despite Defendants’ denials, between October 12 and October
         16, two trading days after the Science article was published, Cassava’s stock price
         fell from an opening price of $18.46 to $12.64, a statistically significant 31.5% price
         drop, on heavy trading due to the disclosures and leakage described in paragraphs
         Supp. ¶¶1-4, above.

               Supp. ¶6.     Comparatively, between October 12 and 16, 2023, the Nasdaq
         was down 0.76% and the Nasdaq Biotechnology Index was down just 0.5%.

                 Supp. ¶7.       On October 27, 2023, CUNY issued a statement in response to
         the Science article, stating that due to the apparent leak of the CUNY report, final
         action would be stayed pending an “investigation of the process.”

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